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11                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12
      PACIFIC WINE DISTRIBUTORS, INC.;                  Case No. 3:20-cv-03131-JSC
13    EQUALITY WINES LLC; KELLY KESKINEN;
      and RYAN SCHRUM-HERRERA, individually             AMENDED CLASS ACTION
14    and on behalf of all others similarly situated,   COMPLAINT PURSUANT TO THE
                                                        SHERMAN AND CLAYTON ACTS
15                                 Plaintiffs,          (15 U.S.C. §§ 1, 26); AND THE
             vs.                                        CARTWRIGHT ACT AND UNFAIR
16                                                      COMPETITION LAW (CAL. BUS. &
      VITOL INC.; SK ENERGY AMERICAS, INC.;             PROF. CODE §§ 16720 ET SEQ. AND
17    and SK TRADING INTERNATIONAL CO.                  17200 ET SEQ.)
      LTD., and DOES 1–100,
18
                                   Defendants.          DEMAND FOR JURY TRIAL
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1           Plaintiffs Pacific Wine Distributors, Inc. (“PWDI”), Equality Wines LLC (“EW”), Kelly

2    Keskinen, and Ryan Schrum-Herrera (collectively, “Plaintiffs”), on behalf of themselves and all

3    others similarly situated, bring this Amended Class Action Complaint for damages, restitution, and

4    injunctive relief against named Defendants Vitol Inc. (“Vitol”), SK Energy Americas, Inc. (“SK

5    Energy”), and SK Trading International Co. Ltd. (“SK Trading”) 1 (collectively, “Defendants”) and

6    unidentified Doe Defendants for violations of Section 1 of the Sherman Act (15 U.S.C. § 1), the

7    California Cartwright Act (Cal. Bus. & Prof. Code §§ 16720 et seq.), and the California Unfair

8    Competition Law (Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”)). 2 All allegations herein other

9    than those concerning Plaintiffs are based on information and belief.

10   I.     INTRODUCTION

11          1.      This lawsuit involves agreements that are per se unlawful among horizontal

12   competitors—Vitol, SK Energy, and SK Trading and certain of their employees—to restrain

13   competition in the spot market for gasoline formulated for use in California and in certain gasoline

14   blending components used in that gasoline.

15          2.      During all relevant times between February 18, 2015 and December 31, 2016,

16   Defendants were participants in the spot market for delivery of refined gasoline and gasoline

17   blending components to refineries located in the San Francisco Bay Area and Los Angeles.

18          3.      Defendants’ illegal scheme commenced as a result of a disruption in certain refining

19   capacity that occurred at the ExxonMobil refinery in Torrance, California on February 18, 2015.

20   Portions of that refinery—specifically the refinery’s cracking unit—exploded in the early morning

21   hours of that day and, as a result, eliminated certain portions of that refinery’s ability to refine

22   alkylates between February of 2015 and June of 2016. Alkylates are chemicals that are the primary

23   product of alkylation, which converts light olefins, such as butylene, into a high-quality gasoline

24   blendstock by reacting it with isobutane, which are then blended with gasoline in order to boost

25   1
      SK Energy and SK Trading will be collectively referred to as “SK” herein.
     2
26    Plaintiff PWDI first filed its complaint in this matter on May 6, 2020. ECF No. 1. It served
     Defendants Vitol and SK Energy on May 12, 2020. ECF Nos 16, 18. This amended complaint is
27   now made pursuant to Federal Rule of Civil Procedure 15(a)(1)(A).


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1    octane ratings. 3

2            4.      The named Defendants—major traders in the California spot market for gasoline

3    and gasoline blending products—realized that the refinery explosion could serve as an opportunity

4    to artificially inflate the price of gasoline traded on wholesale spot markets in California and to

5    also increase the price of alkylates, the prices of which are tied directly to the wholesale price of

6    gasoline, without unwanted scrutiny by other market participants and regulators.

7            5.      Immediately upon learning of the explosion at the Torrance refinery, Defendants

8    Vitol and SK Energy negotiated large contracts to supply gasoline and gasoline blending

9    components for delivery in California. The largest of these contracts exceeded more than ten

10   million gallons.

11           6.      Additionally, Defendants Vitol and SK Energy agreed with each other to

12   manipulate the spot market price for refined gasoline and gasoline blending components so that

13   they could realize windfall profits on these contracts. Defendants further entered into agreements

14   with each other to share the profits and disguise their illegal conduct.

15           7.      The restraint of trade described herein was coordinated by the lead traders for both

16   Vitol and SK Energy, who were friends and former colleagues at Vitol, and it continued until late

17   2016, when one of the traders left his position with SK Energy.

18           8.      Prices for spot market gasoline contracts went up almost immediately for deliveries

19   to San Francisco and Los Angeles. Empirical studies demonstrate that changes in the wholesale

20   price of gasoline are passed through to retail prices and that wholesale price increases are passed

21   through much more quickly than wholesale price decreases. The Bureau of Labor Statistics has

22   noted “that retail prices continue to respond quickly to increases in the spot price, but they respond

23   more slowly to decreases in the spot price.” 4 Defendants’ agreements violated the Sherman Act,

24   3
       The disruption is described in the United States Chemical & Safety Board’s “Investigation
     Report” No. 2015-02-I-CA (May 3, 2017), available at
25   https://www.csb.gov/file.aspx?DocumentId=6023.
     4
26     See https://www.bls.gov/opub/mlr/2018/article/crude-petroleum-prices-and-retail-fuel-margins-
     an-empirical-examination.htm; https://stillwaterassociates.com/gasoline-retail-margin-quick-to-
27   rise-slow-to-drop/.


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1    California’s Cartwright Act, and constitute unlawful, unfair, or fraudulent practices in violation of

2    the UCL. Plaintiffs and the Class were injured because they paid more for gasoline within the State

3    of California than they would have paid in a retail gasoline market untainted by Defendants’ illegal

4    conduct.

5            9.     On May 4, 2020, Defendants’ conduct became known for the first time to Plaintiffs

6    and the Class when the California Attorney General (“AG”) filed a partially redacted complaint

7    (“AG Complaint”) against Defendants for violations of the Cartwright Act and the UCL. 5

8    II.     JURISDICTION AND VENUE

9            10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1337(a)

10   and 1367.

11           11.    Venue is proper in this judicial district pursuant to 15 U.S.C. §§ 15 and 22, and 28

12   U.S.C. § 1391(b) and (c), because a substantial part of the events giving rise to Plaintiffs’ claims

13   occurred in this District, a substantial portion of the affected interstate trade and commerce was

14   carried out in this District, and one or more of the Defendants reside in this District or is licensed

15   to do business in this District. Each Defendant has transacted business, maintained substantial

16   contacts, and/or committed overt acts in furtherance of the illegal restraint of trade throughout this

17   District. The anticompetitive conduct alleged herein has been directed at, and has had the intended

18   effect of, causing injury to persons residing in, located in, or doing business in this District.

19   III.    INTRADISTRICT ASSIGNMENT

20           12.    Pursuant to N.D. Cal. Civil Local Rule 3-2 (c) and (e), assignment of this case to

21   the San Francisco Division of the United States District Court for the Northern District of

22   California is proper because the trade and commerce affected by Defendants’ illegal conduct was

23   substantially conducted within, and directed to and impacted Plaintiffs and members of the Class

24   in counties located within the Division. The San Francisco spot market is located within this

25   5
      See The People of the State of California v. Vitol, Inc., et al., Case No. CGC20584456 (S.F.
26   Superior, filed May 4, 2020). The AG Complaint may also be found at
     https://www.oag.ca.gov/system/files/attachments/press-
27   docs/Scanned%20copy%20of%20redacted%20complaint%20as%20filed.pdf.


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1    Division.

2    IV.       PARTIES

3              A.    PLAINTIFFS

4              13.   Plaintiff PWDI is a resident of the State of California. PWDI purchased gasoline at

5    retail within the State of California during the Class Period defined herein for its own use and not

6    for resale. It owns the statutory claims set forth in this Amended Complaint.

7              14.   Plaintiff EW is resident of the State of California. EW purchased gasoline at retail

8    within the State of California during the Class Period defined herein for its own use and not for

9    resale. It owns the statutory claims set forth in this Amended Complaint.

10             15.   Plaintiff Ryan Schrum-Herrera is a resident of California. He purchased gasoline at

11   retail within the State of California during the Class Period defined herein for his own use and not

12   for resale.

13             16.   Plaintiff Kelly Keskinen is a resident of California. She purchased gasoline at retail

14   within the State of California during the Class Period defined herein for her own use and not for

15   resale.

16             B.    DEFENDANTS

17             17.   Defendant Vitol, a Delaware corporation, is an energy company with its principal

18   place of business at 2925 Richmond Avenue, 11th Floor, Houston, Texas 77098. Vitol is registered

19   with the California Secretary of State to conduct business in California. Vitol and a related entity

20   are not strangers to unlawful trading conduct. The Federal Energy Regulatory Commission sued

21   Vitol and one of its traders to collect $3.75 million in fines levied against them after finding Vitol’s

22   trading activity manipulated California electricity markets. 6 Vitol S.A. was also fined five million

23   Euros by French authorities for manipulating the French southern gas trading point “Peg Sud”

24   between June of 2013 and March of 2014. 7

25   6
       ECF No. 1 in Federal Energy Regulatory Comm’n v. Vitol, Inc., No. 2:20-cv-00040-KJM-AC
     (E.D. Cal. Jan. 6, 2020).
26   7
       https://www.reuters.com/article/vitol-france-fine-gas/update-1-french-regulator-fines-vitol-5-
27   mln-euros-for-gas-market-manipulation-idUSL8N1WP399.


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1           18.     Defendant SK Energy is a California corporation with its registered office at 1300

2    Post Oak Boulevard, Suite 425, Houston, Texas 77056. SK Energy is an indirect, wholly-owned

3    subsidiary of Defendant SK Trading. SK Energy is also no stranger to the commission of conduct

4    that violates United States statutes. It and certain of its competitors were sued by the United States

5    government in April of 2018 for conspiring to rig bids for fuel to United States military bases in

6    South Korea; in March of 2019, it agreed to pay a $90 million fine in connection with this unlawful

7    conduct. 8

8           19.     Defendant SK Trading is a South Korean corporation with its head office at 26

9    Jongno, Jongno-gu, Seoul, South Korea.

10          20.     SK Trading is the indirect parent of SK Energy. SK Trading is also a sister company

11   to SK Energy Co., Ltd. (“SK Energy Korea”), the largest refiner of crude oil in Korea. All of these

12   entities are subsidiaries of SK Innovation Co., Ltd. (“SK Innovation”), a publicly traded holding

13   company headquartered at 26, Jongno, Jongno-gu, Seoul, Korea. SK Innovation owns 100% of

14   both SK Trading and SK Energy. 9

15          21.     SK Trading publicly describes its subsidiary SK Energy as the marketing agent for

16   SK Energy Korea in the United States and explains that SK Energy facilitates the export of SK

17   Energy Korea’s gasoline and gasoline blending products to the United States. SK Trading

18   graphically depicts these relationships as follows: 10

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24     ECF No. 1 in United States v. GS Caltex Corp., et al., No. 2:18-cv-01456-ALM-CMV (S.D.
     Ohio Nov. 14, 2018); ECF No. 32 in United States v. SK Energy Co., Ltd., No. 2:18-cv-01456-
25   ALM-CMV (S.D. Ohio Mar. 14, 2019); see also https://www.justice.gov/opa/press-
     release/file/1111226/download.
26   9
       See http://eng.skinnovation.com/company/affiliate.asp.
     10
27      See http://eng.skinnovation.com/company/trading.asp.


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15          22.     SK Trading dominated and controlled SK Energy, and specifically ratified the
16   illegal conduct engaged in by SK Energy that is described herein. SK Trading and SK Energy
17   Korea list their headquarters at the same address as SK Innovation.
18          23.     At all times relevant to this Amended Complaint, Defendant SK Energy was an
19   agent and alter ego of Defendant SK Trading, due to the nature and extent of control that SK
20   Trading exercised over SK Energy.
21          24.     At all times relevant to this Amended Complaint, there existed a unity of interest
22   and ownership between SK Energy and SK Trading such that any separateness between them had
23   ceased to exist and SK Trading controlled, dominated, managed, and operated SK Energy.
24   Specifically, SK Trading controlled the business and affairs of SK Energy such that the distinction
25   between the companies were mere technicalities.
26          25.     Additionally, at all times relevant to this Complaint, SK Energy was acting within
27   the course and scope of its agency with the knowledge, consent, permission, authorization, and


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1    ratification, either express or implied, of SK Trading in performing the acts alleged in this

2    Complaint.

3            26.       Doe Defendants 1–100 are other individuals or entities who engaged in or abetted

4    the unlawful conduct by Defendants set forth in this Amended Complaint. The AG Complaint itself

5    named Doe Defendants. Plaintiffs intend to further amend or seek leave to further amend this

6    Complaint upon learning the identity of these Doe Defendants.

7    V.      AGENTS AND CO-CONSPIRATORS

8            27.       The anticompetitive and unlawful acts alleged against the Defendants in this

9    Complaint were authorized, ordered or performed by Defendants’ respective officers, agents,

10   employees, or representatives, while actively engaged in the management, direction, or control of

11   Defendants’ businesses or affairs.

12           28.       Defendants’ agents operated under the authority and apparent authority of their

13   principals.

14           29.       Defendants, through their subsidiaries, affiliates, and agents, operated as a single

15   unified entity.

16           30.       Various persons and/or firms not named as Defendants herein may have participated

17   as co-conspirators in the violations alleged herein and may have performed acts and made

18   statements in furtherance thereof.

19           31.       Each Defendant acted as the principal, agent or joint venture of, or for, other

20   Defendants with respect to the acts, violations, and common course of conduct alleged herein.

21           32.       When Plaintiffs refer to a corporate family or companies by a single name in their

22   allegations of participation in the conspiracy, it is to be understood that the Plaintiffs are alleging

23   that one or more employee or agent of entities within the corporate family engaged in conspiratorial

24   acts or meetings on behalf of all of the Defendant companies within that family. In fact, the

25   individual participants in the conspiratorial meetings and discussions did not distinguish among

26   the entities within a corporate family. The individual participants entered into agreements on behalf

27   of, and reported these meetings and discussions to, their respective corporate families. As a result,


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1    the entire corporate family was represented in meetings and discussions by their agents and were

2    parties to the agreements reached by them. Furthermore, to the extent that subsidiaries within

3    corporate families distributed the alkylate products discussed in this Amended Complaint, these

4    subsidiaries played a significant role in the alleged conspiracy because Defendants wished to

5    ensure that the prices paid for such products would not undercut the pricing agreements reached at

6    these various meetings. Thus, all Defendant entities within the corporate families were active,

7    knowing participants in the alleged conspiracy.

8    VI.    CLASS ACTION ALLEGATIONS

9           33.     Plaintiffs bring this action for damages and injunctive relief on behalf of themselves

10   and a class action of similarly situated persons and entities pursuant to Federal Rules of Civil

11   Procedure, Rule 23(a), (b)(2) and (b)(3), which is defined as follows:

12                  All persons or entities that purchased gasoline from a retailer within
                    the State of California from February 18, 2015 until the time that the
13                  adverse effects of Defendants’ anticompetitive conduct ceased (the
                    “Class Period”).
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            34.     This definition specifically excludes the following persons or entities: (a) any of the
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     Defendants named herein; (b) any of the Defendants’ parent companies, subsidiaries, and affiliates;
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     (c) any of the Defendants’ officers, directors, management, employees, subsidiaries, affiliates or
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     agents; (d) all governmental entities; and (e) the judges and chambers staff in this case, as well as
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     any members of their immediate families.
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            35.     Plaintiffs do not know the exact number of Class members. Plaintiffs are informed
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     and believe that, due to the nature of the trade and commerce involved, there are millions of Class
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     members geographically dispersed throughout the State of California, such that joinder of all Class
22
     members in the prosecution of this action is impracticable.
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            36.     Plaintiffs’ claims are typical of the claims of its fellow Class members because
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     Plaintiffs purchased gasoline during the Class Period. Plaintiffs and all Class members were
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     damaged by the same wrongful conduct of Defendants as alleged herein, and the relief sought
26
     herein is common to all members of the Class.
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1           37.     Numerous questions of law or fact common to the entire Class—including, but not

2    limited to those identified below—arise from Defendants’ anticompetitive and unlawful conduct:

3                   a.      Whether Defendants contracted, combined or conspired with one another
                            to restrain trade in the spot market for gasoline at any time during the
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                            Class Period;
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                    b.      Whether Defendants’ conduct caused the prices of gasoline sold at retail to
6                           be higher than the competitive level as a result of their restraint of trade;
7                   c.      Whether Plaintiffs and the other members of the Class were injured by
8                           Defendants’ conduct and, if so, the determination of the appropriate Class-
                            wide measure of damages; and
9
                    d.      Whether Plaintiffs and other members of the Class are entitled to, among
10                          other things, injunctive relief, and, if so, the nature and extent of such
                            relief.
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12          38.     These and other questions of law and fact are common to the Class and predominate

13   over any questions affecting the Class members individually.

14          39.     Plaintiffs will fairly and adequately represent the interests of the Class because they

15   purchased gasoline at retail within the State of California during the Class Period and have no

16   conflicts with any other members of the Class. Furthermore, Plaintiffs have retained sophisticated

17   and competent counsel who is experienced in prosecuting antitrust class actions, as well as other

18   complex litigation.

19          40.     Defendants have acted on grounds generally applicable to the Class, thereby making

20   final injunctive relief appropriate with respect to the Class as a whole.

21          41.     This class action is superior to other alternatives for the fair and efficient

22   adjudication of this controversy. Prosecuting the claims pleaded herein as a class action will

23   eliminate the possibility of repetitive litigation. There will be no material difficulty in the

24   management of this action as a class action.

25          42.     The prosecution of separate actions by individual Class members would create the

26   risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

27   Defendants.


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1    VII.     FACTUAL ALLEGATIONS

2             A.     CALIFORNIA’S GASOLINE MARKET

3             43.    Gasoline reaches consumers through a global supply chain that begins with

4    extracting crude oil and transporting it to refineries, mostly via pipelines, marine tankers, and

5    barges. At the refineries, crude oil is processed into gasoline and other petroleum products. Refined

6    gasoline is then transported—again, usually via pipelines, marine tankers, and barges—to storage

7    terminals for wholesale distribution. From there, it is shipped by truck to retail gas stations where

8    consumers fill their tanks. The following chart prepared by the U.S. Governmental Accountability

9    Office (“GAO”) visually depicts this supply chain: 11

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22            44.    California is geographically isolated from refining hubs in the rest of the United

23   States. There are no pipelines that ship finished gasoline products into California. When local

24   supplies are insufficient to meet demand in California, additional refined gasoline and gasoline

25   blending components are typically brought into the state on marine vessels.

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     11
27        See https://www.gao.gov/new.items/d05525sp.pdf at p.2.


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1             45.     California also has vehicle emissions standards that are more stringent than other

2    areas of the country. Gasoline produced pursuant to these standards is called California

3    Reformulated Gasoline Blendstock for Oxygenate Blending (“CARBOB”). 12 The CARBOB

4    specifications are unique to California; therefore, gasoline used in neighboring states does not meet

5    the CARBOB specification and cannot be used as a substitute source of supply.

6             46.     Most of the CARBOB consumed in California is produced by refineries located in

7    clusters near metropolitan centers in the San Francisco Bay Area and in the greater Los Angeles

8    area.

9             47.     One of the largest refineries in Southern California is located in Torrance, California

10   (the “Torrance Refinery”). The Torrance Refinery produces approximately twenty percent of all of

11   the gasoline sold in Southern California (and ten percent of the statewide supply). The Torrance

12   Refinery also has the capacity to produce significant quantities of alkylate, a high-quality gasoline

13   blending component. In 2015, the Torrance Refinery was owned by ExxonMobil Corp.

14   (“ExxonMobil”).

15            48.     When unexpected supply disruptions occur, gasoline meeting California’s unique

16   CARBOB specifications must be sourced from outside of California. Deliveries can take several

17   weeks to arrive at California’s ports.

18            B.      GASOLINE SPOT MARKET TRADING IN CALIFORNIA

19            49.     “Spot” purchases refer to fuel that physically changes hands at a refinery gate or

20   other major pricing hub for delivery on a pipeline or via barge or cargo. Deals are always done in

21   bulk, typically 5,000 barrels (210,000 gallons) to 50,000 barrels (2.1 million gallons). 13

22            50.     There are a number of spot markets around the United States, but the two relevant

23   to this litigation are located in San Francisco (for delivery to Northern California refineries located

24   in the Bay Area); the other is in Los Angeles (for delivery to refineries in greater Los Angeles).

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26   12
          See https://www.mckinseyenergyinsights.com/resources/refinery-reference-desk/carbob/.
     13
27        See https://www.opisnet.com/product/pricing/spot/.


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1    The U.S. spot markets are: 14

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11               51.   The prices on the two California spot markets are influenced by gasoline prices on
12   the New York Mercantile Exchange (“NYMEX”). Prices on the NYMEX are determined in a
13   centralized market: there are typically thousands of gasoline trades on the NYMEX amounting to
14   billions of gallons on every trading day. Further, all transactions on the NYMEX are publicly
15   reported, so pricing is transparent to market participants. 15
16               52.   NYMEX prices generally reflect large-scale national and international factors,
17   while the California spot markets react to the NYMEX price as well as regional and local supply
18   and demand conditions. 16 In many California spot market transactions, the buyer and the seller
19   negotiate only the basis, and the final price is determined by adding the basis to the NYMEX
20   price. 17
21               53.   “Rack” or “Wholesale” purchases are made along a fuel distribution system—
22   usually at pipeline terminals. Transactions are conducted in approximately 8,000-gallon
23   increments, the amount of fuel in a typical fuel truck. Companies that re-sell fuel (jobbers) as well
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     14
        See http://blog.opisnet.com/spot-fuel-markets-made-simple.
25   15
        See id.
26   16
        See http://blog.opisnet.com/pricing-101-your-basic-guide-to-pricing-gasoline-and-diesel.
     17
27      See http://blog.opisnet.com/spot-fuel-markets-made-simple.


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1    as retailers or end users (e.g., trucking companies) pull fuel from the wholesale racks. Wholesale

2    rack prices move up or down each day at 6 p.m. Eastern Time, based on the movements of the spot

3    market. 18

4            54.    Wholesale terminals are located throughout California and are located in the

5    following geographically dispersed cities: Bakersfield, Barstow, Brisbane, Carson, Chico, Colton,

6    Eureka, Fremont, Fresno, Imperial, Los Angeles (three locations), Montebello, Orange, Richmond,

7    Sacramento, San Diego, San Francisco, San Jose, Stockton, Van Nuys, and Wilmington. 19

8            55.    This is visually depicted in the following chart prepared by the California Energy

9    Commission’s (“CEC”) Petroleum Market Advisory Committee (“PMAC”): 20

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25      See https://www.opisnet.com/product/pricing/rack/.
     19
         See https://www.opisnet.com/about/rack-pricing-coverage-city/.
26   20
         See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-13/Item_01a.pdf, at
27   p.15.


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1            56.     There are two common grades of CARBOB gasoline that are traded in the San

2    Francisco and Los Angeles spot markets. Regular CARBOB (“Regular”) is the most commonly

3    traded grade of gasoline. Premium CARBOB (“Premium”) is traded with far less frequency than

4    Regular. Premium trades at a higher price than Regular. As noted above, alkylates are a high-

5    quality gasoline blending component that can be combined with other blendstocks to create

6    Regular and Premium gasoline. Alkylates are critical to achieving the high-octane ratings of

7    Premium gasoline advertised for sale at retail in California. 21

8            57.     Unlike the NYMEX, spot market trades in California for both Regular and Premium

9    are traded through non-public transactions, sometimes called over-the-counter (“OTC”) trades.

10   These OTC transactions do not occur on a centralized open exchange like the NYMEX, so prices

11   on the California spot markets are not immediately public. Instead, refiners and traders rely on

12   price-reporting services that report spot market prices from sources that participate in the market,

13   such as traders, refiners, and brokers. 22

14           58.     The Oil Price Information Service, LLC (“OPIS”) is the most widely used reporting

15   service in California. OPIS is a subscription service that publishes a daily OPIS West Coast Spot

16   Market Report (the “Spot Market Report”), which is the industry pricing benchmark used by both

17   buyers and sellers in California. Subscribers to OPIS get the Spot Market Report and can also

18   receive market updates from OPIS throughout the day that include reported deals and other industry

19   news.

20           59.     The Spot Market Report includes, among other gasoline products, the prices for

21   Regular and Premium gasoline contracts for prompt (i.e., near term) delivery in Southern California

22   and in Northern California. The Spot Market Report also contains forward prices for Regular and

23   21
        See https://www.eia.gov/todayinenergy/detail.php?id=9971. Approximately 85% of gasoline
     sold at retail is “regular” gasoline. Another 10% is “premium” gasoline. The remainder is called
24   “midgrade” gasoline. “[R]efineries do not produce a midgrade gasoline blend; instead, the
     middle-octane option is blended at the fuel pump from a given gas station’s supply of regular and
25   premium gas.” See https://blog.consumerguide.com/what-is-midgrade-gas/.
     22
26      See https://www.opisnet.com/about/methodology/#wholesale-rack-pricing (“OPIS market
     assessors follow the marketplace throughout a full day of trading by constant communication
27   with designated and approved traders and brokers to discover done deals, bids and offers.”).


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1    Premium gasoline.

2              60.    On a daily basis, there are usually many more Regular trades than Premium trades

3    listed in the Spot Market Report. For example, there could be five, ten, fifteen, or more Regular

4    trades reported on one day compared to one or no Premium trades. Because trading in Premium is

5    less common than Regular, a single Premium trade that is reported to OPIS tends to have a larger

6    impact on the spot market price of gasoline than a single trade of Regular.

7              61.    Furthermore, as OPIS explains on its website, “[t]he spot market is a critical link in

8    the price influence chain because it sets the basis for cost-plus formula deals between suppliers and

9    end users. It also forms the rationale for wholesale fuel price moves every day at 6 p.m. at wholesale

10   racks across the U.S.—which then impacts price increases or decreases at the retail pump”. 23

11             62.    OPIS also visually depicts the “price influence chain” between spot prices and the

12   retail prices paid by California consumers: 24

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21             63.    During the relevant period, Vitol was an active participant in trading gasoline in
22   California. Vitol bought and sold spot market contracts for various types of fuel products, including
23   Regular and Premium.
24             64.    Vitol imported gasoline and gasoline blending components (such as alkylate) into
25   California.
26   23
          See https://www.opisnet.com/product/pricing/spot/.
     24
27        See http://blog.opisnet.com/spot-fuel-markets-made-simple.


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1           65.     Vitol employee Brad Lucas (“Lucas”) held the title “USWC Trader.” Lucas was the

2    primary trader at Vitol with responsibility for trading gasoline and gasoline blending components

3    that were delivered via pipeline within California.

4           66.     Lucas reported to John Addison (“Addison”), a Vitol executive who in turn reported

5    to the President of Vitol Americas. In addition to supervising Lucas, Addison also had trading

6    responsibility that included trading gasoline and gasoline blending components that were primarily

7    delivered via marine vessels to locations in the U.S. West Coast, including California.

8           67.     During the relevant period, SK was an active participant in trading gasoline in

9    California. SK Energy bought and sold spot market contracts for various types of fuel products,

10   including Regular and Premium.

11          68.     SK imported gasoline and gasoline blending components (such as alkylate) into

12   California.

13          69.     SK Energy employee David Niemann (“Niemann”) was the senior trader

14   responsible for executing trades on the U.S. West Coast, including California. Another SK Energy

15   employee, Shelly Mohammed (“Mohammed”), held the role of gasoline scheduler and was

16   Niemann’s subordinate.

17          70.     SK Energy functioned as the California trading arm of SK Trading. While Niemann

18   and Mohammed were nominally employees of Defendant SK Energy, SK’s U.S. West Coast

19   Trading Operation was conducted within the continuous and pervasive control and supervision of

20   SK Trading and its subsidiaries, and SK Trading also specifically reviewed and approved key

21   decisions to coordinate trading activities with Vitol.

22          C.      FEDERAL AND STATE LAW PROHIBITS FRAUDULENT AND

23                  DECEPTIVE COMMODITY TRADING

24          71.     Spot market trading of gasoline must comply with California’s commodities fraud

25   statute. See Cal. Corp. Code § 29504. Under this statute it is unlawful to engage in certain

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1    fraudulent acts when buying or selling commodity contracts. See Cal. Corp. Code § 29536(a), (b),

2    (c), (d).

3             72.     Under section 29536(c), it is unlawful “[t]o willfully engage in any transaction, act,

4    practice, or course of business which operates or would operate as a fraud or deceit upon any

5    persons.” See Cal. Corp. Code § 29536(c).

6             73.     In addition, the federal Commodity Exchange Act (“CEA”) makes unlawful certain

7    types of “[p]rohibited transactions.” See 7 U.S.C. § 6c. More specifically, the CEA prohibits any

8    transaction that “is, of the character of, or commonly known to the trade as, a ‘wash sale’ or

9    ‘accommodation trade.’” See 7 U.S.C. § 6c(a)(2)(A)(i).

10            74.     The CEA also prohibits a transaction that “is used to cause any price to be replied,

11   registered, or recorded that is not a true and bona fide price.” See 7 U.S.C. § 6c(a)(2)(B).

12            D.      DEFENDANTS’ UNLAWFUL CONDUCT

13            75.     SK Energy hired Niemann in August 2014, and Niemann immediately began

14   trading gasoline contracts on the California spot market. Before being hired by SK, Niemann held

15   a similar role at Vitol for approximately ten years. Niemann and Lucas worked together at Vitol,

16   and they maintained contact after Niemann was hired by SK Energy. Throughout the Class Period,

17   Niemann and Lucas communicated with each other by instant message, emails, telephone calls,

18   and during in-person meetings, dinners, and drinks.

19            76.     “Fluid catalytic cracking” or “FCC” is an important part of refining crude oil. A

20   FCC unit is a secondary refining unit that produces high-value products like alkylate. 25

21            77.     The Torrance Refinery’s FCC unit produced a significant portion of all the

22   high-octane alkylate produced in California. The alkylate produced at the Torrance Refinery was

23   a key gasoline blending component for Premium gasoline produced in California.

24            78.     As noted above, during the morning of February 18, 2015, there was a large

25   explosion at the Torrance Refinery. The blast occurred in a part of the FCC unit.

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     25
27        See https://www.eia.gov/todayinenergy/detail.php?id=9150.


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1            79.     The Torrance Refinery was forced to shut down its FCC and to reduce production

2    of gasoline products, including alkylate, as repair efforts commenced. As a result of this unplanned

3    outage at the Torrance Refinery—which did not end until approximately June of 2016—

4    ExxonMobil needed to replace a significant amount of lost alkylate production in California.

5            80.     Beginning at least as early as late February of 2015, Vitol and SK Energy—through

6    Lucas, Niemann, and others—reached agreements with each other and with third parties to raise,

7    fix, and otherwise tamper with the price of refined gasoline in California by manipulating

8    OPIS-reported prices in order to realize supra-competitive profits while limiting bona fide market

9    risk. The explosion at the Torrance Refinery would act as cover for their illegal efforts to increase

10   the price of gasoline in the California spot markets.

11           81.     Vitol and SK Energy specifically engaged in trades directly or indirectly between

12   them that were reported to OPIS for the purpose of inflating the OPIS-published price for Regular

13   and Premium gasoline. At times, they used the services of an intermediary broker, and sometimes

14   they transacted directly with each other.

15           82.     This conduct was designed to create the illusion of a supply/demand imbalance for

16   refined gasoline and to drive spot market prices to artificial highs during strategic pricing windows.

17           83.     Many of these transactions were “leveraged” because they involved taking losses

18   on the purchase of smaller quantities of gasoline to increase the profits on the sale of larger

19   quantities of gasoline or alkylate.

20           84.     For example, Defendants traded Regular gasoline contracts directly or indirectly

21   with each other at artificially high prices early in the trading day so that OPIS would report an

22   artificially inflated purchase price to other market participants. An early purchase during a strategic

23   trading window at an inflated price signals a supply/demand imbalance to the market and thereby

24   artificially inflates spot market prices.

25           85.     Defendants also executed market-spiking trades for Premium gasoline directly or

26   indirectly with each other and third parties, and then reported these trades to OPIS. Because

27   Premium gasoline trades were rare—often only zero or one of these trades were reported on any


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1    given day—these transactions had a significant impact on the spot market price.

2            86.     Defendants engaged in market-spiking spot trades for Premium gasoline to increase

3    the OPIS-reported price for Premium during strategic pricing windows for large sales of alkylates.

4    While alkylate is a key blending component for Premium gasoline, alkylate is not a separately

5    reported commodity on California’s spot markets. Consequently, large price contracts for alkylate

6    were most commonly tied, with a small differential, to the OPIS-reported spot price for Premium

7    gasoline during the associated pricing window.

8            87.     Defendants’ manipulation of spot prices for Regular gasoline also affected alkylate

9    contract prices because spot prices for Regular and Premium gasoline often move in tandem.

10           88.     Therefore, to realize supra-competitive profits on alkylate contracts, Vitol and SK

11   worked together to inflate the spot price of Regular and Premium gasoline during key pricing

12   windows, and then coordinated their importation of alkylate into California at these

13   supra-competitive prices. According to the United States Energy Information Association, after the

14   explosion at the Torrance Refinery, substantial importation of gasoline and related products from

15   Asia occurred; “[f]rom March to July [of 2015], more than 50% of the imported motor gasoline

16   volumes have been classified as ‘all other motor gasoline blending components,’ indicating that

17   the gasoline material being imported consists mostly of higher octane blending components such

18   as alkylate and reformate, which are then used to make California-grade gasoline.” 26 These

19   shipments included shipments from not only South Korea, but also Singapore, where SK Energy

20   has substantial production facilities. 27

21           89.     Defendants also executed secondary offsetting or “wash” trades to hide or disguise

22   their conduct, to limit or eliminate bona fide market risk on the reported trades, and to share their

23   anticompetitive profits with each other. Defendants withheld disclosure from OPIS of these “wash”

24   trades between them, or otherwise disguised them by transacting them through brokers or other

25   26
        https://www.eia.gov/todayinenergy/detail.php?id=23312.
     27
26      See https://www.spglobal.com/platts/en/market-insights/latest-news/oil/031215-feature-us-
     west-coast-refiners-step-up-gasoline-alkylate-imports-from-asia;
27   https://www.linkedin.com/company/sk-energy-international.


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1    third parties. These secondary trades were executed at the same time, before, or after the

2    OPIS-reported trades.

3           90.     The CME Group defines a “wash trade” as follows: “A wash trade is a form of

4    fictitious trade in which a transaction or a series of transactions give the appearance that authentic

5    purchases and sales have been made, but where the trades have been entered without the intent to

6    take a bona fide market position or without the intent to execute bona fide transactions subject to

7    market risk or price competition.” 28

8           91.     By moving in the opposite direction of the reported trade, the secondary transaction

9    ensured that there was little or no market risk associated with Defendants’ overall conduct.

10          92.     Defendants called their illegal agreements “joint ventures” or “JVs”, but they were

11   nothing more than secret agreements between purported competitors to artificially increase spot

12   market prices for Regular and Premium gasoline in California. These agreements started out as

13   verbal agreements only but were later referenced in various writings. During the Class Period,

14   Defendants’ illegal conduct generated millions of dollars of profits for them per month, and Lucas

15   and Niemann also financially benefitted as a result of their conduct.

16          93.     The price-spikes caused by Defendants’ illegal conduct were not consistent with

17   prior actual or perceived supply disruptions within California. The following chart, published by

18   Severin Borenstein, chair of the PMAC—which was formed to investigate gasoline pricing in

19   California between late 2014 and the end of 2016—depicts the historically unprecedented change

20   in gasoline pricing in California relative to the United States that was caused by—and lingered—

21   as a result of Defendants’ conduct: 29

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25   28
        https://www.cmegroup.com/education/courses/market-regulation/wash-trades/definition-of-a-
     wash-trade.html (emphasis in original).
26   29
        See https://energyathaas.wordpress.com/2018/02/26/californias-mystery-gasoline-surcharge-
27   continues/.


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12          94.     Nor were the spot market price spikes explained by any actual decrease in gasoline

13   production following the Torrance Refinery explosion. As the PMAC’s Final Report explained,

14   “Energy Commission staff noted that while the ESP tower and FCC unit of the refinery remained

15   off-line until June 2016, the refinery could still create finished gasoline from processed blending

16   components, some of which may be imported.” 30

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       See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-13/Item_01a.pdf, at
27   p.12.


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1           95.     In fact, the PMAC demonstrated that overall gasoline production in California was

2    well within the historical five-year production band immediately following the Torrance Refinery

3    explosion and for the remainder of 2015, as depicted in the following chart: 31

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16          96.     The following chart demonstrates that the Defendants’ spot price manipulation,

17   which was in full swing not later than February 2015, impacted CARBOB spot prices in both San

18   Francisco and Los Angeles, whose markets move in tandem: 32

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       Id.
26   32
       See https://www.energy.ca.gov/sites/default/files/2019-
27   05/Data_on_California_Gasoline_Price_Margins.pdf, at p.5.


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12          97.     Spot price manipulation increases the price of gasoline at all retailer distribution

13   outlets, whether they supply branded or unbranded gasoline (i.e., gas sold by retail discounters like

14   Arco, Safeway, and Costco). In fact, the PMAC demonstrated that prices for branded and

15   unbranded gasoline move in tandem, with branded pricing slightly higher than unbranded pricing. 33

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       See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-13/Item_01a.pdf, at
27   p.29.


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1           98.     No retailer in the State of California was spared cost increases caused by

2    Defendants’ misconduct, and empirical research demonstrates what industry participants have long

3    known: that upstream wholesale price increases are quickly passed on to consumers, but price

4    declines lag. Jeffery Karrenbock (“Karrenbock”), an economist at the Federal Reserve Bank of St.

5    Louis, visually depicted this phenomenon in the following chart: 34

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20          99.     Karrenbock demonstrated econometrically that while wholesale price increases
21   were immediately passed through to retail gasoline price changes, wholesale price declines lagged.
22   He graphed his results as follows: 35
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25   34
        See Jeffrey D. Karrenbrock, “The behavior of retail gasoline prices: symmetric or not?”
     Federal Reserve Bank of St. Louis Review (July/Aug. 1991), p.23, available at
26   http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.199.7107&rep=rep1&type=pdf.
     35
27      Id. at 28.


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17          100.    Karrenbock noted that his findings are consistent with the comments of industry

18   participants, as the following quotes demonstrate:

19                  “Retail (gasoline) prices go up much faster than they come down.”—
                    a spokesman for the Automobile Association of America. The Wall
20
                    Street Journal, (Solomon) August 9, 1990.
21
                    “Pump prices are fast to respond to rising prices but slower to fall
22                  when crude prices fall.”—Antonio Szabo, oil consultant with Bonner
                    & Moore. The Wall Street Journal, (Business Bulletin) August 3,
23                  1989.
24
                    “Whenever oil prices fall, there is always this stickiness in gasoline
25                  prices on the way down. You never see this stickiness on the way
                    up.”—Ed Rothschild, energy expert at Citizen Action. New York
26                  Times, (Wald) July 2, 1990.
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                    “When crude prices go up, product prices tend to rise with crude
1                   prices. But when crude prices go down, product prices tend to lag—
2                   they go down slowly.”—John Hilton, oil industry analyst for Argus
                    Research Corp. St Louis Post-Dispatch, (Crudele) June 19, 1990. 36
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4           101.    The strong connection between wholesale and retail gasoline prices continues

5    today. As OPIS explains on its website, “[t]he spot market is a critical link in the price influence

6    chain because it sets the basis for cost-plus formula deals between suppliers and end users. It also

7    forms the rationale for wholesale fuel price moves every day at 6 p.m. at wholesale racks across

8    the U.S.—which then impacts price increases or decreases at the retail pump”. 37

9           102.    Defendants’ repeated manipulation of the spot market price caused retail gasoline

10   prices to be higher throughout the Class Period.

11          103.    Defendants’ gains came at the expense of consumers throughout California, who

12   use 40 million gallons of gasoline per day. California is the third largest market in the world behind

13   the U.S. as a whole and China. 38

14          104.    In fact, PMAC concluded its study of the California gasoline market as follows:

15   “Californians continue to pay more than $3 billion per year for gasoline above the levels that could

16   be explained by standard cost analysis. Whether the cause of these excess payments is insufficient

17   competition or logistical impediments, or some combination of these factors, the magnitude of the

18   loss justifies a very significant effort to diagnose its causes and remedy the situation.” 39

19          105.    As demonstrated by the filing of the AG Complaint against the Defendants on May

20   4, 2020, Senior Assistant Attorney General Kathleen Foote (“Foote”) and her team of antitrust

21   attorneys were able to continue with a non-public investigation into the causes of gasoline prices

22   36
        Id. at 20.
     37
23      See https://www.opisnet.com/product/pricing/spot/ (emphasis added). See also
     https://stillwaterassociates.com/gasoline-retail-margin-quick-to-rise-slow-to-drop/ (“We note that
24   retail prices continue to respond quickly to increases in the spot price, but they respond more
     slowly to decreases in the spot price.”).
25   38
        See https://www.forbes.com/sites/judeclemente/2015/03/22/why-are-californias-gasoline-
     prices-always-higher/#2cfa0b4321ff.
26   39
        See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-13/Item_01a.pdf, at
27   p.33.


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1    following the Torrance Refinery explosion and uncovered secret evidence that Defendants had

2    illegally colluded with each other and third parties to increase the price of gasoline to levels above

3    what competition would have allowed.

4           106.    According to the AG, the affirmative conduct underlying the illegal conduct alleged

5    herein likely ended at or around the time that Niemann left SK Energy. In April of 2017,

6    Mohammed became a Vice-President of the US West Coast Light Products Group of Tauber Oil

7    Co., which trades in gasoline, jet fuel and distillates; Niemann joined her there in the following

8    month. 40

9    VIII. TOLLING OF THE STATUTES OF LIMITATIONS

10          107.    Class member purchases of gasoline within four years prior to the filing of this

11   Complaint are not barred by the applicable four-year statute of limitations and are not required to

12   be tolled in order to be actionable.

13          108.    Plaintiffs and the Class did not know of Defendants’ illegal conduct until the AG

14   filed its complaint against Defendants in May of 2020. Further, Plaintiffs and the Class had no

15   reason to believe that they paid prices for gasoline that were affected by Defendants’ illegal conduct

16   prior to that date, and thus had no duty to investigate the claims set forth in this Amended

17   Complaint until May 4, 2020. Defendants’ secret joint venture agreements were inherently

18   self-concealing.

19          109.    Additionally, Defendants engaged in affirmative acts that were designed to mislead

20   and conceal their illegal conduct. For example, Vitol’s Lucas affirmatively misled the CEC about

21   the true cause of high prices for gasoline that followed the Torrance Refinery explosion in February

22   2015. On August 16, 2016, he told the PMAC and Foote that high gasoline prices were caused by

23   a lack of transparency by ExxonMobil, rather than Defendants’ illegal manipulation of spot market

24   prices. Lucas stated:

25                  So you know, last year we brought in quite a few cargos into L.A.,
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       See https://tauberoil.com/blog/team/shelly-mohammed/; https://tauberoil.com/blog/team/david-
27   niemann/.


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                    both alkaloid (phonetic) and finish CARBOB that went through
1                   Kinder Morgan’s system and sold direct to Exxon and some other
2                   refiners. You know, one of the big things that this whole conversation
                    has entailed is about the high prices. One of the reasons why, in my
3                   opinion, was the lack of transparency with what was going on with
                    Torrance. Because if you remember when it first blew up back in
4                   February, there was like an eternal rolling one-month period where
                    they were going to get back up and running. And they kept saying
5                   next month, next month, next month. So the trading companies in
6                   general, it takes four to five weeks to ship a cargo out, if Exxon is
                    coming back up they’re not going to ship into closed ARB. So
7                   because there was no real timeline of when Exxon was going to come
                    back up and running, we would generally not—you don’t put cargos
8                   on the water and ship them to the West Coast just on a punt, basically,
                    hoping that you can sell them when they get there. That’s what
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                    happened with that one cargo that was done by another trading
10                  company who sent it out there, at which point in time the market had
                    collapsed, and so he was unable to sell it, and so he sailed it away
11                  again. So that’s what happened with that one. So if there was more
                    transparency with what was going on with refinery maintenance,
12                  when it was going to come back up, it would have allowed us to see
                    if it was more—if we were going to be able to land these cargos and
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                    actually into a competitive market. If Exxon is back up and running
14                  the market is going to fall dramatically. So basically kind of that lack
                    of information kept cargos at bay. There were still a lot shipped into
15                  the West Coast, but not as many as could have been or would have
                    been done. If we had actually known that Exxon was going to be
16                  down for over a year there would have been a much bigger import
                    play over that time frame. 41
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18          110.    Moreover, Defendants repeatedly misled OPIS about the true nature of their trading
19   activities by reporting artificially high spot trades directly or indirectly between them but
20   concealing the existence of offsetting wash trades that reduced or effectively limited any market
21   risk in the primary trade.
22          111.    Additionally, the AG, as representative of the people of the State of California,
23   obtained tolling agreements with Defendants that are applicable to the claims of Plaintiffs and the
24   Class, in whole or in part. These tolling agreements have effective dates of August 3, 2018, and
25   March 8, 2019, respectively. Defendants and the AG subsequently executed additional tolling
26   41
       See https://www.energy.ca.gov/data-reports/planning-and-forecasting/petroleum-market-
27   advisory-committee, Aug. 16, 2016 Meeting Tr. at 129:24–131:10.


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1    agreements to extend the termination dates of the tolling periods specified in the original

2    agreements. These termination dates have not passed as of the filing of this Complaint.

3            112.   Accordingly, to the extent that tolling is necessary to advance some or all of the

4    claims alleged by Plaintiffs and the Class, the four-year statutes of limitations governing claims

5    under the Sherman Act, the Cartwright Act, and the UCL were tolled at least until May 4, 2020

6    pursuant to the injury-discovery rule, the doctrine of fraudulent concealment, and by virtue of

7    express tolling agreements between the AG and Defendants.

8    IX.     CLAIMS FOR RELIEF

9                                               COUNT ONE

10                                     Violation of the Sherman Act

11                                 (15 U.S.C. § 1—Injunctive Relief Only)

12                                        (Against All Defendants)

13           113.   Plaintiffs hereby repeat and incorporate by reference each preceding paragraph as

14   though fully set forth herein.

15           114.   Defendants entered into and engaged in a continuing combination, conspiracy or

16   agreement to unreasonably restrain trade or commerce in violation of Section 1 of the Sherman

17   Act (15 U.S.C. § 1) by artificially restraining competition with respect to the price of gasoline

18   within the State of California.

19           115.   Defendants’ activities constitute a per se violation of Section 1 of the Sherman Act.

20           116.   Defendants’ anticompetitive and unlawful conduct has proximately caused injury

21   to Plaintiffs and members of the Class by restraining competition and thereby raising, maintaining

22   and/or stabilizing the price of gasoline at levels above what would have occurred if competition

23   had prevailed. For this conduct, Plaintiffs and members of the Class are entitled to injunctive relief

24   pursuant to 15 U.S.C. § 26.

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1                                              COUNT TWO

2                                     Violation of the Cartwright Act

3                      (California Business and Professions Code §§ 16720 et seq.)

4                                         (Against All Defendants)

5            117.    Plaintiffs incorporate by reference and reallege the preceding allegations as though

6    fully set forth herein.

7            118.    Defendants entered into and engaged in a continuing combination, conspiracy or

8    agreement to unreasonably restrain trade or commerce in violation of the Cartwright Act,

9    California Business and Professions Code §§ 16720 et seq., by artificially restraining competition

10   with respect to the price of gasoline within the State of California.

11           119.    Defendants’ activities constitute a per se violation of the Cartwright Act.

12           120.    Defendants’ anticompetitive and unlawful conduct has proximately caused injury

13   to Plaintiffs and members of the Class by restraining competition and thereby raising, maintaining

14   and/or stabilizing the price of gasoline at levels above what would have occurred if competition

15   had prevailed. For this conduct, Plaintiffs and members of the Class are entitled to treble damages

16   and injunctive relief pursuant to California Business and Professions Code § 16750(a).

17                                            COUNT THREE

18                               Violation of the Unfair Competition Law

19                     (California Business and Professions Code §§ 17200 et seq.)

20                                        (Against All Defendants)

21           121.    Plaintiffs incorporate by reference and reallege the preceding allegations as though

22   fully set forth herein.

23           122.    Defendants committed acts of unfair competition, as described above, in violation

24   of the UCL.

25           123.    Defendants’ conduct constitutes an “unlawful” business practice within the

26   meaning of the UCL, and includes, without limitation, the following:

27               •   Violating the Sherman and Cartwright Acts, as set forth above;


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1                •   Engaging in wash sales and otherwise manipulating the benchmark prices reported

2                    on the California gasoline spot market in violation of California Corporations Code

3                    §§ 29535, 29536, 29537, 29538) and the CEA, 7 U.S.C. §§ 1 et seq.

4            124.    Defendants’ conduct separately constitutes an “unfair” business practice within the

5    meaning of the UCL because Defendants’ practices have caused and are “likely to cause substantial

6    injury” to the Plaintiffs and the members of the Class that is not “reasonably avoidable” by them.

7            125.    Defendants’ conduct, as alleged herein, is and was contrary to public policy,

8    immoral, unethical, oppressive, unscrupulous and/or substantially injurious to consumers. Any

9    purported benefits arising out of Defendants’ conduct do not outweigh the harms caused to the

10   victims of Defendants’ conduct.

11           126.    Defendants’ conduct is also “unfair” because it is contrary to numerous

12   legislatively-declared policies, as set forth in the Sherman Act, the Cartwright Act, the California

13   Corporations Code, and in the Commodities Exchange Act. Here, Defendants’ conduct not only

14   violates the letter of the law, but it also contravenes the spirit and purpose of each of those statutes.

15   The conduct threatens an incipient violation of each of those laws and has both an actual and a

16   threatened impact on competition.

17           127.    Defendants’ conduct, as described above, also constitutes a “fraudulent” business

18   practice within the meaning of the UCL. Defendants’ trading activity on the California gasoline

19   spot market fraudulently raised the price of gasoline above the competitive level through fictitious

20   “wash” trades and other manipulative conduct that did not shift economic risk for the transaction

21   to an arm’s length counterparty. This conduct was designed to deceive—and did deceive—other

22   market participants about the true supply and demand situation for gasoline in order to artificially

23   increase the price of gasoline in California.

24           128.    Plaintiffs and the members of the Class have suffered injury in fact and have lost

25   money as a result of Defendants’ violations of the UCL in that they paid more for gasoline than

26   they would have paid in a competitive market. They are therefore entitled to restitution and

27   injunctive relief pursuant to California Business and Professions Code § 17203.


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1                                           PRAYER FOR RELIEF

2           WHEREFORE, Plaintiffs request that the Court enter judgment on its behalf and on behalf of

3    the Class defined herein, by adjudging and decreeing that:

4           A.      This action may proceed as a class action, with Plaintiffs serving as the Class

5                   Representatives, and with Plaintiffs’ counsel as Class Counsel;

6           B.      Defendants have contracted, combined and conspired in violation of the Sherman

7                   Act and Cartwright Act;

8           C.      Defendants have violated the UCL by engaging in conduct that constitutes

9                   unlawful, unfair, and fraudulent business practices;

10          D.      Plaintiffs and the Class have been injured in their business and property as a result

11                  of Defendants’ violations;

12          E.      Plaintiffs and the Class are entitled to recover three-fold damages and/or restitution,

13                  and that a joint and several judgment in favor of Plaintiffs and the Class be entered

14                  against Defendants in an amount subject to proof at trial;

15          F.      Plaintiffs and the Class are entitled to pre-judgment and post-judgment interest on

16                  the damages awarded them, and that such interest be awarded at the highest legal

17                  rate;

18          G.      Plaintiffs and the Class are entitled to equitable relief appropriate to remedy

19                  Defendants’ past and ongoing restraint of trade, including:

20                           i.   A judicial determination declaring the rights of Plaintiffs and the Class,

21                                and the corresponding responsibilities of Defendants; and

22                          ii.   Issuance of a permanent injunction against Defendants and their

23                                parents, subsidiaries, affiliates, successors, transferees, assignees and

24                                the respective officers, directors, partners, agents, and employees

25                                thereof and all other persons acting or claiming to act on their behalf

26                                from violations of the law as alleged herein.

27          H.      Defendants are to be jointly and severally responsible financially for the costs and


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1                   expenses of a Court-approved notice program through post and media designed to

2                   give immediate notification to the Class;

3           I.      Plaintiffs and the Class recover their costs of this suit, including reasonable

4                   attorneys’ fees as provided by law; and

5           J.      Plaintiffs and the Class receive such other or further relief as may be just and proper.

6                                       JURY TRIAL DEMANDED

7           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all the
8    claims asserted in this Amended Complaint that are so triable.
9
     DATED: June 2, 2020                                        HAUSFELD LLP
10

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